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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                              Case No.: 1:07-CR-018-SPM/AK

BUBBA JACK HURLEY,

           Defendant.
________________________________/

            ORDER GRANTING MOTION TO CONTINUE SENTENCING

       THIS CAUSE comes before the Court on Defendant’s “Motion to Continue

Sentencing” (doc. 166). Defendant requests a continuance of his sentencing in

order to finalize his assistance to the government. The Government does not

oppose the granting of this motion.

       The jury trial of the co-defendant in this case is currently scheduled for

June 2, 2008. In order for Defendant Hurley to testify in that case and to finalize

his assistance to the Government, the Court finds good cause to continue this

trial for sixty (60) days. Accordingly, it is hereby ORDERED AND ADJUDGED

as follows:

       1.     Defendant’s motion to continue (doc. 166) is granted.

       2.     The Defendant’s sentencing hearing is reset for Monday, July 7,

              2008 at 1:30 p.m.

       SO ORDERED this twenty-fifth day of April, 2008.




                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
